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                               UNITED STATES BANKRUPTCY COURT
 6
                                        DISTRICT OF ARIZONA
 7
     In re:                                       )    Chapter 7
 8                                                )
                                                  )    Case No. 2:20-bk-00020-DPC
 9    SCOTTSDALE PET SUITE LLC dba                )
      SCOTTSDALE DOGGIE SUITES,                   )    ORDER ALLOWING AND DIRECTING
10                                                )    PAYMENT OF TRUSTEE’S
                    Debtor.                       )    ATTORNEYS’ FINAL FEES AND
11                                                )    EXPENSES
                                                  )
12
13            An application (the “Application”) having been filed for allowance and payment of the
14   fees and costs of the chapter 7 trustee’s attorneys Witthoft Derksen, P.C. (“Witthoft Derksen”);
15   notice of the Application and the deadline to object having been sent to all parties listed in this
16   Court’s master mailing list as evidenced by the Certificate of Mailing on file with this Court at
17   Docket Entry No. 89; there having been no objections to the Application; and good cause
18   appearing, it is:
19            ORDERED that the final Application is approved and fees in the final amount of
20   $9,290.00 and costs in the final amount of $285.48 are hereby allowed for Witthoft Derksen.
21            IT IS FURTHER ORDERED that the chapter 7 trustee David A. Birdsell is hereby
22   directed to pay to Witthoft Derksen for its fees and expenses awarded to date from cash on hand
23   in this Chapter 7 estate provided there are available funds and payment will not prejudice
24   claimants of equal or higher priority.
25            SIGNED AND DATED ABOVE.
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